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                                                                                                                                  1        INDEX                                    PAGE NUMBER
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                                                                                                                                  2        Proceedings                                    4
            1                   NOTICE   OF   SPECIAL   MEETING           OF   SHAREHOLDERS          OF
                                              NEXGEN MEMANTINE, INC.                                                              3        Reporter's Certificate                             46
            2

                                                                                                                                  4
            3


            4                                                                                                                     5    *Reporter's Note:       See page 18, line 2 for the question
                     TELEPHONIC
            5        PROCEEDINGS:                 1. APPROVAL FOR INVESTIGATING THE                                               6    Mr. Sabharwal requested to be notated.
                                                  WESTMINSTER TRANSACTION.                          To
            6                                     consider          and vote          upon    a proposal      to                  7
                                                  engage       litigation             counsel       to   pursue
            7                                     potential          claims against Gajan                                         8
                                                  Mahendiran          arising          from his
            8                                     transactions             with       the    company
                                                  relating to Westminster                                                         9
            9                                     Pharmaceuticals.

                                                                                                                                 10
           10                                     2.    OTHER BUSINESS.                 To   transact       such
                                                  business as may properly come before                                           11
           11                                     the    special          meeting       or    any
                                                  adjournments             of postponements
           12                                     thereof.                                                                       12

           13        TAKEN:                       Pursuant to notice of the board of                                             13
                                                  directors          of Nexgen Memantine,                  Inc.
           14                                     in    accordance             with    Section       17-16-702                   14

                                                  of    the   Wyoming Business                 Corporation
           1s                                     Act                                                                            15


           16        DATE:                        November          27,    2018

                                                                                                                                 16
           17        TIME:                        11:11       a.m.    to       11:56    a.m.


           18        REPORTED BY:                 Melanie Keefe                                                                  17
                                                  Notary       Public
           19                                     State of Florida at Large                                                      18
           20        PLACE:                       8913 Regents Park Drive                                                        19
                                                  Suite       550
           21                                     Tampa,       Florida           33647                                           20


           22                                                                                                                    21


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                                                                                                                   2
  1    APPEARANCES:                 RICHARD J. McINTYRE, ESQUIRE                                                                                                                                                 4
                        DAVID       M.    SASLOW, ESQUIRE                                                                         1                        PROCEEDINGS
  2                     McIntyre, Thanasides, Bringgold, Elliott,
                        Grimaldi, Guito & Matthews, P.A.                                                                          2              MR. McINTYRE:             Sorry about that.         We had some
  3                     500 East Kennedy Boulevard                                                                                3                                 .                                      oo
                        Suite 200                                                                                                          operator error with           regard to the conference circuit.

  4                    Tampa, Florida 33602                                                                                       4        Would everybody on the line go ahead and make their
  5                            Attorneys for Suren Ajjarapu                                                                       5        appearance?

  6                     H. KEETO SABHARWAL, ESQUIRE (Via Telephone)                                                               6              DR. DATTA:             Hello, this is Dr. Datta, Harsh
                        Pillsbury, Winthrop, Shaw, Pittman, LLP                                                                   7        Datta
  7                     1200 Seventeenth                  Street Northwest                                                                         ,
  8                     Washington, DC                  20036                                                                     8              MR. McINTYRE:             And just for the benefit -- we

                               Attorney for Westminster                                                                           9        have a court reporter.              If you could, spell your name.
  9                            Pharmaceuticals                                                                                                                                .
                                                                                                                                 10        When you say your name, then spell it slowly and then

 10                     DEAN A. KENT, ESQUIRE                                                                                    11        we'll move on to the next person.
                       Trenam           Law
 11                     101 East Kennedy Boulevard                                                                               12              DR. DATTA:             Hello?   There is a lot of echo.         Can
                        Suite 2700                                                                                                                              -          >
 12                    Tampa, Florida 33602                                                                                      13        you please say it again?
 13                                                                                                                              14              MR. McINTYRE:             Yes.    I'm not sure how many people

       ALSO      PRESENT:           Suren       Ajjarapu                                                                         15        we have on,     but if -- and         it's not easy,     right, one
 14                     Gajan Mahendiran (Via Telephone)
                        Balvant Arora (Via Telephone)                                                                            16        person ata time, but maybe you start and then the next
 15                     Harsh Datta (Via Telephone)                                                                                                                                            .
                        Jitendra Jain (Via Telephone)                                                                            17        person goes.        Say your name clearly, and then if you

 16                                                                                                                              18        would, spell your name. We have a -- someone taking
 17                                                                                                                              19        down notes of the proceeding.

 18                                                                                                                              20              DR. DATTA:             Okay.    And who is    talking right now?

 19                                                                                                                              21              MR. McINTYRE:             I'm sorry.    This is Richard

                                                                                                                                 22        McIntyre.     I'm   Suren's attorney.
 20
 1                                                                                                                               23              DR. DATTA:             Richard.   How do you spell last name?

 33                                                                                                                              24              MR. McINTYRE: McIntyre, M-C-I-N-T-Y-R-E. And
 38                                                                                                                              25        we'll put our names on. We'll do all the phone people

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    1          MR. SASLOW:    So yes, Suren is standing in for                             1         MR. SABHARWAL:        Dean, this is Keeto.    Are you

    2    Anna today as secretary, presiding over the meeting.                             2    doneor can I respond?
    3          MR. SABHARWAL:       Well, was there an official                           3          MR. KENT:    Sure, you can go ahead.

    4    change of documentation that was voted on for Suren to                           4          MR. SABHARWAL:        Okay.    This is Keeto Sabharwal.

    5    become the secretary --                                                          5    Iam litigation counsel for Westminster Pharmaceuticals

    6          MR. SASLOW:    No.                                                         6    and for Gajan Mahendiran.       I come from the Washington,

    7          MR. SABHARWAL:       -- to preside over this meeting?                      7    DC law firm of Pillsbury, Winthrop.      We are an

    8    Because we didn't get that.                                                      8    international firm of 700 lawyers.      I specialize in all

    9          MR. SASLOW:    No.                                                         9    types of litigation, particularly patent litigation, IP

   10          MR. SABHARWAL:       Okay.     All right.   Go ahead.       I             10    litigation.

=
11 didn't mean to interrupt. 11 And first and foremost, I assume that, Dean, you

   12          MR. SASLOW:    Okay.    So, Dean, you have the floor.                     12.   will be producing a copy of this alleged $1.5 million

   13          MR. KENT:   Sure.    Yeah.    Dean Kent from the                          13.   note to all the shareholders and you will verify that

   14    Trenam law firm in Tampa.      We're a litigation and                           14    there were no other documents that were transacted

   15    business firm in Tampa and St. Pete only of                                     15    between Mr. Ajjarapu and Dr. Mahendiran before you

   16    approximately 95 attorneys.        I've been practicing in                      16    satisfy your Rule 11 obligation as to proceed with this

   17    ‘this area since 2000, and I do a lot of work in the                            17    lawsuit; is that correct?

   18    corporate space, intellectual property as well.                                 18          MR. KENT:    First off, I disagree.   I don't know

   19          I have been engaged by Nexgen Memantine to                                19    if my -- the scope of my representation would entail

   20    determine to what extent it may have claims --                                  20    any personal or contractual dealings between Suren

   21    corporate claims against any of the shareholders and/or                         21    individually and Mr. -- and your client,

   22    principals of the entity in connection with past                                22    Mr. Mahendiran.    My role is limited to representation

   23    dealings and more specifically the notice of this                               23    of Nexgen Memantine.        So to the extent there's, yeah,

   24    meeting in connection with potential claims against                             24    agreements between and among those --

   25    Gajan Mahendiran in connection with a $1.5 million note                         25          MR. SABHARWAL:        Okay.
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                                                                       10                                                                                    12

    1    that was outstanding to Nexgen Memantine that was                                 1         MR. KENT:    -- anything involving myclient,

    2    ultimately canceled and/or resolved in favor of him                              2    Nexgen Memantine, I will gladly produce.         And to the

    3    obtaining ownership in Westminster Pharmaceuticals,                              3.   extent --

    4    which I had an understanding had no ownership from                               4          MR. SABHARWAL:        Great.

    5    Nexgen Memantine.                                                                5          MR. KENT:    Yeah, yeah.

    6          So essentially, there was a $1.5 million note                              6          MR. SABHARWAL:        Great.   And we'll get that when?
    7    between Mr. Mahendiran flowing back to Nexgen Memantine                          7          MR. KENT:    Sometime in the near future.

    8    that was resolved for no consideration or assets or                              8          MR. SABHARWAL:        Okay.    I'd also like to point out

    9    future interest back to Nexgen Memantine in exchange                             9    for the record since the court reporter is on the

   10    for Mr. Mahendiran obtaining ownership -- a hundred                             10    phone, for the benefit of all the shareholders, that

   11    percent ownership or a larger percentage of ownership                           11    this is not the first time Mr. Ajjarapu has tried to

   12    in Westminster Pharmaceuticals.                                                 12    get into Westminster.    Here's the facts and they are

   13          Based upon that, we believe that a further                                13    undisputed.   The facts are as follows:     On a certain

   14    investigation into the matter is required and to                                14    date, Mr. Ajjarapu for consideration conveyed his

   15    potentially file suit to seek the return or appropriate                         15    entire ownership interest to Gajan Mahendiran for the

   16    documentation of those assets for the benefit of the                            16    sole and exclusive ownership of Westminster

   17    shareholders.   Whether that be through a demand letter                         17    Pharmaceuticals.    Subsequent to that, I have received,

   18    and/or a suit and whether that is brought locally or                            18    me, Keeto Sabharwal, has received several

   19    somewhere else based upon personal jurisdictional                               19    communications from the McIntyre law firm claiming to

   20    issues are yet to be determined.       But based on the                         20    have some sort of alleged wire transfers which show

   21    cursory investigation from a larger point of view, it                           21    that Mr. Ajjarapu somehow has some sort of residual

   22    seems as though there was a large asset of the company                          22    interest.

   23    ~=that was wiped clean in exchange for essentially no                           23          I have responded with documentation showing that

   24    consideration back to Nexgen Memantine or its                                   24    Dr. Mahendiran has a hundred percent ownership, and I

   25    shareholders for the resolution of that debt.                                   25    challenge members of the McIntyre law firm to produce
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     1    some sort of documentation rebutting that.            That                  1   frankly, if you're right, Mr. Kent's investigation will

     2    occurred about four months ago.         Since that time,                    2   conclude that there's nothing there to pursue.          But at
     3    nothing has happened.                                                       3   least the fiduciary duty --

     4            The fact is that Nexgen Memantine, maybe                            4         MR. SABHARWAL:          But --
     5    unbeknownst to some of the lawyers on the phone, has                        5         MR. McINTYRE:      Excuse me, Keeto.         Let me finish,
     6    absolutely nothing to do with Westminster.            They're               6   please.    At the least the fiduciary duties --
I
7 separate and complete transactions. And this is                                     7         MR. SABHARWAL:          --
     8    nothing more than a transparent attempt by Mr. Ajjarapu                     8         MR. McINTYRE:      Excuse me for a second.         -- will
     9    to get the benefit of Westminster Pharmaceuticals.                          9   be discharged and everyone will know what happened.
    10            Mr. Ajjarapu -- and I want to put this on the                     10    And obviously, if there's disputes between Mr. Ajjarapu

    11    ~=record.   Mr. Ajjarapu has been taking funds from one                   11    and Mr. Mahendiran, those can be resolved between them

    12.   entity and transferring it to another.     And that -- and                12    separately, but that doesn't really involve Memantine.
    13    I know this because I have a good faith reason to say                     13          If there are Memantine assets that need to be
    14    this because that is what my client has told me.             Soif         14    protected, that’s what Mr. Kent is here to do.          He'll
    15    you guys want to go down this road and institute any                      15    obviously disclose the results of their investigation.
__
16 litigation, the veryfirst thing we're going to do is 16 They'll make recommendations to pursue litigation or

    17    serve a whole battery of discovery requests seeking                       17    whatever channels they choose.          And I think anybody

    18    every financial transaction that Mr. Ajjarapu has been                    18    that's a shareholder would want to hear what their
    19    involved with with the following entities, including,                     19    options are before deciding summarily not to proceed.

    20    but not limited to, G&S Coal, Nexgen, Nexgen Memantine,                   |20   That's just my opinion, but I'll obviously leave it to

    21    the Westminster, and the current Trxade company that he                   |21   Mr. Kent to recommend what he sees fit.
    22    operates.                                                                 22          MR. KENT:     Sure.     And then that's --

    23            Mr. Ajjarapu told Dr. Mahendiran on several                       23          MR. SABHARWAL:          Let me -- was that Richard that

    24    occasions that his name cannot even be on Nexgen                          24    was speaking, by the way?
    25    Memantine because he has fiduciary obligations to                         25          MR. KENT:     It was.
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                                                                        14                                                                             16

     1    Trxade.     Nevertheless, under -- we are now sitting here                  1         MR. McINTYRE:      Yeah, that was me, Richard
     2    and Mr. Ajjarapu has appointed himself secretary in                         2   McIntyre.

     3    contravention of his fiduciary obligation.      Itis also                   3         MR. SABHARWAL:          Richard, you didn't -- one thing
     4    curious that this individual Annapurna or whatever this                     4   Ijust want you to confirm.         Will you confirm for me,
     5    person's name is is not on the call.      It's also                         5   however, that members of your law firm have been
     6    curious, gentlemen, that Dr. Mahendiran, his name is                        6   sending me communications and e-mails alleging that
     7    listed as a director when he never even knew about                          7   Mr. Ajjarapu has some residual ownership interest in
     8    that.                                                                       8   Westminster Pharmaceuticals?           Can you confirm that for
     9            This entire transaction is a fraud.   And if                        9   people on the call?
    10    anybody tries to institute any action, I am going to                      10          MR. McINTYRE:      Do you -- look, we've got 25
    11.   file counterclaims against not only Mr. Ajjarapu but                      11    lawyers.    We're not as big as your law firm, but I

    12    the lawyers who obviously did not meet the Rule 11                        12.   don't know what correspondence the lawyers in myfirm
    13    obligations.                                                              13    have sent you.     I don't believe I've sent you any
    14            MR. McINTYRE:     Are you through?                                14    correspondence.      If you have a letter that you'd like

    15            MR. SABHARWAL:      I'm done.                                     15    meto confirm, send it to me and I'll tell you --

    16            MR. KENT:   And I can briefly respond --                          16          MR. SABHARWAL:          Absolutely.   I'll send it to you

    17            MR. McINTYRE:     Real quick.                                     17    today.

    18            MR. KENT:   Yeah.                                                 18          MR. McINTYRE:      -- yes or no, we didn't.      Right?

    19            MR. McINTYRE:     So, Keeto, I wouldn't think you                 19    And obviously --

    20    would be adverse to the company conducting an                             20          MR. SABHARWAL:          I'll send it to you today.    And
    21.   investigation.    It sounds like you're all about getting                 21    one other thing --
    22    to the bottom of whatever transactions Memantine was                      22          MR. McINTYRE:      -- copy Mr. Kent.      Keeto --
    23    involved in.    You know, you said that they're                           23          MR. SABHARWAL:          Can somebody tell me what the

    24    undisputable transactions, so, you know, there                            24    relationship is between Nexgen Memantine and

    25    shouldn't be any disputes about what happened.               And          25    Westminster Pharmaceuticals?           I can't figure that out
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     1    because I don't know that anybody onthis call has                         1    to come in and put blinders on and favor one

     2    standing to do anything with respect to Westminster                       2    shareholder or another.       I'm trying to look at all of
     3    Pharmaceuticals.    So somebody needs to tell me what the                 3.   the information in a fair and unbiased way and give
     4    relationship is between Nexgen Memantine and                              4    full and fair disclosure of what we believe the claims

     5    Westminster Pharmaceuticals, otherwise, this entire                       5    to be.    Whether those claims are acted upon by the
     6    thing is a fraud because nobody onthis call has                           6    shareholders or not is up to the shareholders.
~~
7 standing. 7 You know, I don't believe there's anything right

     8          MR. McINTYRE:     Keeto, I think you're                             8    now in the context of a Nexgen Memantine shareholder

     9    misunderstanding -- I think you're misunderstanding                       9    meeting that has anything to do with Westminster
    10    what Mr. Kent is saying and what his purpose is.         To             10     Pharmaceuticals other than the kind of peripheral

    11    the extent that Nexgen Memantine has any claims which                   11.    discussion of the fact that a $1.5 million note that

    12    would constitute assets of the company or any interests                 12     was owed to Nexgen Memantine from your client was
    13.   in Nexgen -- I'm sorry -- Westminster or any other                      13     essentially resolved by him obtaining an interest in a

    14    assets, his job is to investigate that and determine                    14     separate entity that was Westminster Pharmaceuticals,
    15    whether or not Nexgen Memantine assets went outside of                  15.    which I don't believe you'll dispute, or I think that's
    16    the corporation for no consideration or less than                       16     what your summary of undisputed facts earlier were kind
    17    reasonable equivalent value and make a report on that                   17‘    of attested to.

    18    and then take the necessary steps to protect Nexgen                     18             But, you know, to the extent there's a clawback
    19    Memantine.    It's not Westminster --                                   19     procedure or there's something like that, that that

    20          MR. SABHARWAL:       You didn't answer the question.              20     would be discussed.       If there is no relevant or

    21          MR. McINTYRE:     Does that answer your question?                 21     legitimate claim to be brought, we'll report that as

    22          MR. SABHARWAL:       No, it does not.    I just asked             22     well.    But, you know, we're not on some witch hunt

    23    ~you, Richard, what -- the specific topic of this call                  23     ~=here, but we're essentially being tasked to look at the

    24    was the -- whether to institute litigation against                      24     facts as we're aware of them.
    25    Dr. Mahendiran relating to -- and I quote -- relating                   25             To the extent you've got something you want to

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                                                                    18                                                                                20

     1    to Westminster Pharmaceuticals.         So I'm asking you for             1    share with me, share it with me.         I'll give you my
     2    the third time:   What allegation, what belief, what                      2    contact information.      I'm not going to avoid looking at

     3.   evidence do you guys have of any linkage between Nexgen                   3    something and I'm not going to ignore information
     4    Memantine and Westminster Pharmaceuticals? I want the                     4    unless it's got a -- you know, there's a reason for us

     5    court reporter to note this specific part on the                          5    to ignore it, then we don't believe it to be credible
     6    record.                                                                   6    or fraudulent.
     7          MR. McINTYRE:     The court reporter is taking                      7            But our job is to protect the interest of the

     8    everything down, so --                                                    8    shareholders and to protect the assets of Nexgen
     9          MR. SABHARWAL:       Good.                                          9    Memantine.       Whether that's investigating further,

    10          MR. McINTYRE:     -- I don't --                                   10     filing suit, making recommendations, or saying that

    11          MR. SABHARWAL:       Please answer my question.                   11     ultimately we don't believe a claim exists, that’s why

    12          MR. McINTYRE:     She's not selectively recording                 12     we're here.

    13    parts of the meeting.                                                   13             MR. SABHARWAL:       All right, Dean.    That was very
    14          MR. SABHARWAL:       Thank you.     Thank you.                    14     well said and I appreciate it.      I also appreciate your

    15          MR. McINTYRE:     If you want her to put this in                  15     acknowledgement about the peripheral nature --

__
16 italics or bold, she can certainly do that. 16 potentially peripheral nature between Nexgen Memantine
    17          MR. SABHARWAL:       Wonderful.                                   17     and Westminster Pharmaceuticals.

    18          MR. McINTYRE:     Dean, do you want to answer his                 18             And I'm going to makethis following proposal.

a
19 question? 19 And, gentlemen, the reason that I am little bit
    20          MR. KENT:    Sure.                                                20     annoyed bythis is because there's a little bit of

    21          MR. SABHARWAL:       That will help it read better.               21     harassment going on here because this is the third time

    22    Go ahead.                                                               22     that Dr. Mahendiran has been badgered by -- with some

    23          MR. KENT:    And, Keeto, yeah, this is Dean Kent                  23     allegation relating to Westminster Pharmaceuticals.

    24    from the Trenam firm.      And again, I'm -- I don't need               24             But I'll tell you what.   Let's put all of the

    25    to play referee here, but essentially, my role is not                   25     pejoratives aside and let's agree on the following:
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     1    Why don't the lawyers get on the phone, get all the                      1    there's some things to get in order with regard to the

     2    documents together, and then wewill talk about it,                       2    general corporate affairs of the company.
     3    okay, outside the presence of anyone else.         And if                3         But for this meeting, the purpose is to at least
     4    there is some transaction that I'm not aware of, I will                  4    find out are there any -- you know, did any money leave
     5    tell you as myobligation as an officer of the court                      5    the company that shouldn't have?         If so, why?   What's
     6    that I will acknowledge it and I'm sure that you will                    6    the explanation?    What are the documents?         And what
     7    do the same and that way wecan put this thing to bed                     7    does impartial counsel recommend with regard to if
     8    once and for all.    Does that sound reasonable?                         8    money did leave, trying to get it back, if that's
     9            MR. McINTYRE:    If what you're saying is --                     9    appropriate.   And so I think that's --

    10            DR. JAIN:   Can I say something?                               10          DR. JAIN:    So in that situation -- this is

    11            MR. McINTYRE:    Yeah, go ahead.                               11.    Jitendra Jain -- I move that we don't make any

    12            DR. JAIN:   Can I say something?    This is Jitendra           12     decisions or do anything at this meeting until the

    13.   Jain.    I'm one of the shareholders that invested money               13     general shareholder meeting is done and all the
    14    in Nexgen Memantine.        Soit’s been two and a half years           14     shareholders are informed of all the information

    15    and I don't know what the structure of this company is                 15     because we have nothing as far as information to go by
    16    yet.    Who are the officers?   What are their roles?                  16     before we can vote or take any action.

    17    What obligations have they fulfilled to meet all the                   17          MR. McINTYRE:      Okay.    So --

    18    necessities of it being a corporation?     We've never                 18          DR. ARORA:     And I agree.     This is Dr. Arora.   I
    19    gotten a single report from anybody.                                   19     also agree with what Dr. Jain has said.       We have not
    20            So before we agree to anything that you're doing               20     been aware of anything since the time we invested the
    21    on behalf of Westminster or Nexgen, shouldn't the                      21     money.   And I would concur with what Dr. Jain has said.

    22    shareholders be informed of all the information?         Where         22          MR. McINTYRE:      So --
    23    did all the money weinvested go?        Who's keeping up               23          DR. DATTA:     This is Dr. Harsh Datta.     And it
    24    with the bank account?      Where are the bank reports?                24     looks like fairly a lot has been happening and we were

    25            MR. McINTYRE:    So let me say something quickly.              25     kept in the dark, that's what it seems like, for one

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                                                                      22                                                                          24

     1            DR. ARORA:    This is Balvant Arora.                             1    reason or the other.   Now, at this meeting, we didn't

     2            MR. McINTYRE:    Let me just make a quick response.              2    even know why this meeting was being called for.           We

     3            DR. ARORA:    This is Balvant Arora.                             3.   didn't even know that there were going to be attorneys

     4            MR. McINTYRE:    Let me just say something quickly.              4    from both sides and who was definitely going to be

     5    This meeting was noticed up -- to answer half of your                    5    attending the meeting and all that.       I think there is a
     6    question, this is a special meeting solely noticed up                    6    lot for us to know before we can move forward with any
     7    for the purposes of investigating what you just said.                    7    more further details and discussion.      We need to be
|
_
8 Where did the money go? And if it's recommended by the 8 filled in with a lot of information.
     9    Trenam -- if Trenam recommends any kind of an action to                  9         MR. McINTYRE:      Right.    So what's noticed for this

    10    pursue money that's left the company, they would                       10.    -- those are all valid comments and those are all
    11    provide a report.     Keeto has offered to provide                     11.    things that should be accomplished.        For this special
    12    information on behalf of Gajan and possibly                            12     meeting, which is a limited meeting, the one matter on

    13    Westminster.                                                           13     for this particular meeting is whether or not the

    14            Obviously, Mr. Kent will take all of the                       14     company should initiate an investigation using the

    15    information that he can get and work with Keeto to get,                15     Trenam firm into transactions which may have led to

    16    you know, everything he possibly can.          He'll also work         16     corporate assets leaving the company.        And so I think
    17    with Suren to get all the information he can get from                  17     ‘that's all that really can be voted on right now.

    18    Suren and then he'll come up with a recommendation for                 18     Having said that, look, you guys are all
    19    the benefit of Nexgen Memantine.                                       19     shareholders --

I
20 With regard to officers, directors, corporate 20                                          DR. MAHENDIRAN:        think -- I think -- this is
    21    structure, and all those things, I would suggest you                   21     Dr. Gajan Mahendiran.     I'm going to find -- Dr. Balvant
    22    guys schedule -- and Suren is nodding that hewill                      22     Arora, Dr. Jain, and Dr. Harsh Datta, I want to know

    23    schedule a general shareholders’ meeting for the                       23     ‘the initial funding the doctors gave to Nexgen
    24    purposes of dealing with those issues because that's a                 24     Memantine of -- in excess of $400,000, we would like to
    25    very legitimate concern to raise.     It seems like                    25     know what happened to it.        And secondly, who approved
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     1             MR. SABHARWAL:         Itis.                                         1   worth putting on the record.

     2             MR. McINTYRE:     Alert whoever you want.       That's               2           DR. MAHENDIRAN:        I think the shareholders are

     3    not the purpose of this meeting.         But, you know,                       3   asking for a full account before they make a vote.

     4    obviously, no one has asked you to keep anything under                        4   You're making this unilateral decision.

     5    your hat, so shout it to the world, do whatever you'd                         5           MR. McINTYRE:       It's just a matter -- so if you

     6    like.     But I think we've done the business that we                         6   have minority shareholders that say let's postpone the

     7    noticed this meeting up for, so let's -- if anyone else                       7   vote until I get more information but the majority of

     8    has any comments, let's go ahead and make them and then                       8   the votes vote to move forward, I'm not aware of a

     9    we're going to conclude.                                                      9   requirement that the vote be deferred.          You can
=
10 MR. AJJARAPU: You want to take a resolution 10 actually -- you can move to defer the vote.                                                   I can tell

    11    or--                                                                        11    you Mr. Ajjarapu would vote against that, so I don't

    12             MR. KENT:     You want to do a formal vote too?                    12    believe that would carry.

    13             MR. McINTYRE:     So Mr. Ajjarapu has already voted.               13            To save time, just put on the record you vote for

    14    The other shareholders on the call, would you like to                       14.   ‘or against or abstain.     And of course, any results of

    15    vote?                                                                       15    ‘the investigation will be published to all of you, so

    16             Hearing nothing --                                                 16    you will all get the information.      I don't know that

    17             DR. DATTA:     Well, I'm sure that --                              17    anybody would want to stand in the way of an

    18             MR. McINTYRE:     Sir, do mea favor.     Just say your             18    investigation, but if you choose to, then vote against

    19    name -- I'msorry.        Say your name so the court reporter                19    it.   If you want to put something on the record about

   20     has it.                                                                     20    why, like you didn't have enough information to vote

   21              DR. DATTA:     Yes.    This Dr. Harsh Datta.   And I'm             21    ~+for or against, you can say that, but we're just trying

   22     ~=sure that Dr. Jitendra Jain and Dr. Balvant Arora, they                   22    to record votes at this point.

   23     will concur with that.     This is the first time we are                    23            DR. MAHENDIRAN: If        the vote is to recount

   24     hearing about all of this, what is going on.       Okay.                    24    information of what happened to the money, I           think all

   25     And we have been asked to vote and also at the same                         25    the investors would be in agreement with you.             Bult if

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     1    time we have been told that our vote might not have                           1   the vote is to do possible litigation against me, I'm

     2    much of any value because of the, you know, 12 percent                        2   curious that you have the majority person voting

     3.   or whatever.                                                                  3   against that and everybody else is saying let's figure
     4             But my thing is that without any information                         4   out the information.      I think that's a logical step to

     5    beforehand, without knowing what exactly has been going                       5   take.

     6    onor what has happened so far, you are expecting us to                        6           MR. McINTYRE:       Let me be clear.    So I'msorry.        I

     7    vote?      I don't know how to proceed with that part.                        7   wasn't clear on saying that.       The vote on the table is
     8             What do you think, Dr. Balvant Arora, and,                           8   not whether or not to institute litigation.      So to say

     9    Jjitendra?    Hello?   Hello?                                                 9   it more clearly, there's no vote for instituting

    10             MR. McINTYRE:     I'm sorry.    Who are you asking for             10    litigation at this point.    The only vote on the table

    11    aresponse --                                                                11.   is to complete an investigation using the Trenam firm

    12             DR. ARORA:     Dr. Datta, this is Balvant Arora.                   12    and publish that to the board.        And then you-all, the

    13             DR. DATTA:     Yes.                                                13.   shareholders -- I'm sorry.       I should've said

    14             DR. ARORA:     Yeah, I concur with what you have                   14    shareholders, not the board -- the shareholders can

    15    said, but I feel that this thing is for the                                 15    decide whether or not to move forward with litigation.

    16    investigation and that is what it has been called for.                      16            It may be that the recommendation is not to move

    17    Iwould request that -- can we getall of the case                            17    ‘forward with litigation.    The only thing on for a vote

    18    before we decide on this, or can we get some time on                        18    today is whether Trenam does an investigation to figure

    19    ‘this?                                                                      19    out what happened to the money that was put into Nexgen

   20              MR. AJJARAPU:     No.                                              20    Memantine and publish that report so that you guys can

~~“
21 MR. McINTYRE: So just for purposes of the 21 figure out what happened.

   22     process, Mr. Ajjarapu has voted to move forward with                        22            UNIDENTIFIED SPEAKER:          How much money was put in

   23     =the investigation.     So the only question on the table                   23    on December --

   24     is:     Do you vote yes, no, or abstain? And                                24            UNIDENTIFIED SPEAKER:          Sorry?

   25     mathematically the vote is already carried, but it's                        25            MR. McINTYRE:       I don't know.   At this point,
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